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                                          EXHIBIT A




                    EXHIBIT A
       (First Amended Complaint)
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16                                        DISTRICT COURT

17                                   CLARK COUNTY, NEVADA

18 TERRIE GANDY an individual,                        CASE NO.:       A-21-840728-C
                                                      DEPT. NO.:      26
19           Plaintiff,
20   VS.
                                                      FIRST AMENDED COMPLAINT AND
21 COSTCO WHOLESALE CORPORATION, a                    DEMAND FOR JURY TRIAL
   Washington foreign corporation, d/b/a
22 COSTCO WHOLESALE; DOE Individuals I
   through X; and ROE Corporations and                ARBITRATION EXEMPTION CLAIMED:
23 Organizations I through V, inclusive,
                                                            Matter in Controversy Exceeds $50,000 in
24          Defendants.                                     damages

25
            COMES NOW, Plaintiff, TERRIE GANDY, by and through her counsel of record,
26
     O'REILLY LAW GROUP, LLC; GILLOCK & ASSOCIATES; and SAM & ASH, LLP, and
27
     hereby files her First Amended Complaint against the above named Defendants, DOE Individuals I
28
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                   1 through X, and ROE Corporations and Organizations I through V, inclusive (collectively referred

                   2 to as "Defendants") as follows (amendments in BOLD):

                  3
                                                                        I.
                  4
                                                                   PARTIES
                  5
                              1.      At all times relevant to this case, Ms. Gandy was, and is, a resident of Las Vegas,
                  6
                      Nevada.
                  7

                  8           2.     At all times relevant to this case, COSTCO WHOLESALE CORPORATION was,

                  9 and is, a Washington foreign corporation, doing business as COSTCO WHOLESALE (hereinafter
      0
                 10 referred to as "Costco"), is licensed to do business in Clark County, Nevada, and is located at 6555
      t2
6=1   8 7.
•     Q T.       11
                      N Decatur Blvd Las Vegas, Nevada 89131, and thereby subject to the laws of the State of Nevada.
      3Lo
0                12
c:4                           3.     Plaintiff is without sufficient information to properly name the true names of
     <.          13
       g- •
_.., 0 xg             defendants DOE Individuals I through X and ROE Corporations and Organizations I through V
                 14
                      ("Fictitious Defendants"), and Plaintiff reserves the right to amend the complaint to more properly
w.
      w s s
                 15
      • „
0:3,
      0
                 16 identify the Fictitious Defendants. Each Fictitious Defendant is in some way liable to Plaintiff or
      >
      •      •
                 17 claims some right, title, or interest in Costco that is subsequent to or subject to the interests of

                 18 Plaintiff. Each Fictitious Defendant is in some way liable for damages to Plaintiff due to the

                 19
                      ownership interest, agency relationship, or partnership interest with Costco, and/or its owners,
                 20
                      managers, supervisors, employers, employees, contractors, or other principals or agents acting for
                 21
                      or on behalf of Costco. Each Fictitious Defendant is directly and/or vicariously liable to Plaintiff
                 22
                      due to the actual, apparent, implied, or express authority granted to or by such Fictitious Defendant
                 23

                 24 by or to any owner, manager, supervisor, employer, employee, contractor, or other principal or

                 25 agent acting for or on behalf of Costco, and any of its subsidiaries or parent companies.

                 26 /1/

                 27
                      ///
                 28
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  1                                                      H.

  2                                               JURISDICTION
  3
              4.      The Court has personal jurisdiction over Costco, as it is a registered and licensed
  4
      entity doing business within Clark County, Nevada.
  5
              5.      The Court has subject matter jurisdiction as to this case and controversy as the
 6
      injury sustained by Ms. Gandy occurred in Clark County, Nevada.
  7

 8            6.      Upon information and belief, the Court has jurisdiction over the Fictitious

 9 Defendants, as the Fictitious Defendants engaged in business or took actions within the State of

10 Nevada regarding the alleged injuries sufficient to establish personal jurisdiction.

11
                                                        HI.
12
                                                      VENUE
13
              7.       Venue is proper in this judicial district, because the case arises from incidents
14
      occurring in this district.
15

16                                                      IV.

17                                          FACTUAL BACKGROUND

18                                  (Allegations Common to All Causes of Action)
19
             8.       On July 11, 2020, at 10:10 am, Ms. Gandy was shopping at Costco at 6555 N
20
      Decatur Blvd. in Las Vegas Nevada.
21
             9.       Ms. Gandy was pushing a shopping cart, proceeding to the laundry detergent aisle
22
      when suddenly, she unknowingly stepped into a large puddle of water.
23

24           10.      The water made the floor incredibly slick and Ms. Gandy slipped and fell to the

25 ground, bashing her left leg into her shopping cart during the fall.

26           1 1.     There was no wet floor sign present.
27

28
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  1           12.      After Ms. Gandy fell, Costco employees ran to her aid and began wiping the floor

 2 with towels.
 3
              13.      Unfortunately, this subsequent clean-up occurred too late to prevent Ms. Gandy
 4
      from the fall.
 5
          14.     Ms. Gandy was in excruciating pain from her left knee down to her ankle for the
 6
 7 remainder of the night.

 8            15.      For the next couple weeks, Ms. Gandy continued to ice and elevate her leg in hopes

 9 that it would help alleviate the pain.

10            16.      Unfortunately the pain and swelling continued, causing Ms. Gandy to seek
11
      professional medical treatment.
12
              17.      Ms. Gandy complained of knee, ankle, muscle, and bone pain.
13
              18.      Ms. Gandy was diagnosed with a contusion on the left lower leg, bruising, and
14
      edema to the left ankle.
15

16                                                       V.

17                                        FIRST CAUSE OF ACTION
18                                               NEGLIGENCE
                                            (As to Defendant Costco)
19

20           19.       Plaintiff repeats and re-alleges the preceding paragraphs as though fully set forth

21 herein by this reference.

22           20.       At all times mentioned herein, Defendant knew or in the exercise of reasonable care
23
      should have known, that failure to maintain Costco premises was of such a nature that was likely to
24
      injure persons walking along the product aisles.
25
             21.       Defendant owed Plaintiff the duty of reasonable care to maintain the product aisles
26
      of the Costco.
27

28
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 1           22.       Defendant breached its duty by failing to properly maintain the product aisles of the

 2 Costco.

 3
             23.       More specifically, Defendant breached its duty by failing to keep its product aisles
 4
     free from defects, large spills, and puddles which would constitute a slipping hazard to customers
 5
     walking.
 6
             24.       Additionally, Defendant owed a duty to all its customers to warn of hazardous
 7

 8 conditions on its property.

 9           25.       Defendant breached this duty by failing to warn Plaintiff of the large puddle of

10 water in the aisle.

11
             26.       Finally, Defendant had a duty to close the area of the product aisle with the spill of
12
     water to prevent its customers from injury by the large puddle of water.
13
            27.        Defendant breached its duty by failing to close the area of the aisle where Plaintiff
14
     was injured by the large puddle of water.
15

16          28.        As a direct and proximate result of Defendant's negligence, Plaintiff has suffered

17 past and future general and special damages in excess of $15,000.

18          29.        As a direct and proximate result of Defendant's negligence, Plaintiff has had to
19
     retain counsel to prosecute this action and are therefore entitled to collect her reasonable attorneys'
20
     fees and costs.
21
                                                        VI.
22
                                            SECOND CAUSE OF ACTION
23

24                               NEGLIGENT HIRING AND SUPERVISION
                                        (As to Defendant Costco)
25
            30.        Plaintiff repeats and re-alleges the preceding paragraphs as though fully set forth
26
     herein by this reference.
27

28
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 1           31.       Defendant owed a duty to Plaintiff to employ competent employees and/or agents,

 2 adequately trained to maintain its product aisles, or at the very least, close the area to prevent its

 3
     customers from coming into contact with the large puddle of water.
 4
             32.       Upon information and belief, Defendant breached its duty to Plaintiff by failing to
 5
     employ competent employees or agents, adequately trained to maintain Costco's aisles
 6
             33.       As a direct and proximate result of Defendant's negligence, Plaintiff has suffered
 7

 8 past and future general and special damages in excess of $15,000.

 9          34.        As a direct and proximate result of Defendant's negligence, Plaintiff has had to

10 retain counsel to prosecute this action and are therefore entitled to collect her reasonable attorneys'

11
     fees and costs.
12
                                                        VII.
13
                                          THIRD CAUSE OF ACTION
14
                          NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
15
                                      (As to Defendant Costco)
16
            35.        Plaintiff repeats and re-alleges the preceding paragraphs as though fully set forth
17
     herein by this reference.
18
            36.        Defendant and its employees' or agents' negligent acts or omissions injured Ms.
19

20 Gandy as alleged herein.

21          37.        Ms. Gandy suffered emotional and physical distress from the damages caused by

22 Defendant and its employees' or agents' negligence.

23
            38.        Defendant is liable to Ms. Gandy for negligent infliction of emotional distress due to
24
     its employees' or agents' negligent acts or omissions.
25
            39.        As a result of Defendant's employees' or agents' negligence, Plaintiff has suffered
26
     past and future general and special damages in excess of $15,000.
27

28
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               40.       As a result of Defendants' employees' or agents' negligence, Plaintiff has had to

 2 retain counsel to prosecute this action and are therefore entitled to collect her reasonable attorneys'
 3
       fees and costs.
 4
                                                         VIII.
 5
                                          FOURTH CAUSE OF ACTION
 6
 7                            VICARIOUS LIABILITY/RESPONDEAT SUPERIOR
                                         (As to Defendant Costco)
 8
              41.        Plaintiff repeats and re-alleges the preceding paragraphs as though fully set forth
 9
       herein by this reference.
10
11            42.        Defendant's agents and/or employees were acting in the scope of their employment,

12 under Defendant's control, and in furtherance of Defendant's interests at the time their actions, or

13 inaction, caused injury to Ms. Gandy.

14            43.        Defendant is vicariously liable for damages resulting from its agents' and/or
15
     employee's negligence committed during the scope of their employment.
16
              44.     As a direct and proximate result of the negligent actions or inactions of the
17
     employees or agents of Defendant, Plaintiff has suffered the injuries and damages alleged herein
18
     and as proven at trial.
19

20            45.     As a direct and proximate result of the negligent actions or inactions of the

21 employees or agents of Defendant, Plaintiff has suffered past and future general and special

22 damage in excess of $15,000.
23
              46.    As a direct and proximate result of the negligent actions or inactions of the
24
     employees or agents of Defendant, Plaintiff has had to retain counsel to prosecute this action and is
25
     therefore entitled to collect her reasonable attorneys' fees and costs.
26
     ///
27

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                                                         IX.

 2                                        REQUEST FOR RELIEF
 3
             Plaintiff respectfully requests this Honorable Court issue an order:.,

            (a)     Awarding past and future general damages to Plaintiff for an amount to be
 5
     determined at trial;
 6
            (b)     Awarding past and future special damages to Plaintiff for an amount to be
 7

 8 determined at trial;

 9          (c)     Granting an award of attorneys' fees and costs against Defendants; and

10          (d)     Granting any other just or equitable relief this Court deems proper
11
                                       DEMAND FOR JURY TRIAL
12
            Plaintiff demands a jury trial on all issues so triable and does not waive that right.
13
     DATED: September 28, 2021                     O'REILLY LAW GROUP, LLC
14

15
                                                   By:      /s/ Timothy R. O'Reilly
16                                                       Timothy R. O'Reilly, Esq.
                                                         Nevada Bar No. 8866
17                                                       325 South Maryland Parkway
                                                         Las Vegas, Nevada 89101
18                                                       Attorneys for Plaintiff
19

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